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                         UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

  INNERWORKINGS, INC.,                  )
                                        )
                   Plaintiff,           )
                                                  Case No. 21-CV-00903
                                        )
                          v.            )
                                        )
  SARA HORN and SMART                   )
  SOURCE, LLC,                          )
                                        )
                   Defendants.          )


                          STIPULATED ORDER OF DISMISSAL

        The parties hereby stipulate to the dismissal of this case with prejudice and
 without an award of attorneys’ fees or costs to any party pursuant to FRCP
 41(a)(1)(A)(ii).

 Dated: October 7, 2024
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